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 1   Avraham Zvi Cutler
     Ballon Stoll Bader & Nadler
 2
     729 7th Ave., 17th Fl.
 3   New York, NY 10019
 4   State Bar No. 028441
     Fax: 212-764-5060
 5   avicutler@gmail.com
 6   Tel: 718-578-7711
 7   Attorney for Plaintiff Paula Kitchen
 8
                       IN THE UNITED STATES DISTRICT COURT
 9
                           FOR THE DISTRICT OF ARIZONA
10
11   Paula Kitchen,                            ) No.: 4:17-cv-00272-RCC_
                                               )
12                Plaintiff,                   )
                                               ) NOTICE OF SETTLEMENT
13         vs.                                 )
                                               )
14                                             )
                                               )
15
     Concord Servicing Company d/b/a           )
     Blackwell Recovery,                       )
16                                             )
                  Defendant.                   )
17
18         Notice is hereby given that the Parties have settled the matters between them.
19
     The parties anticipate completing settlement documents and filing a dismissal with
20
21   the Court within the next sixty (60) days. The parties request that the Court retain
22
     jurisdiction of this case during said sixty (60) day period.
23
                                             Respectfully Submitted,
24
25   DATED: April 10, 2018                   BALLON STOLL BADER & NADLER
26
                                             By:    /s/Avraham Zvi Cutler
27                                                  Avraham Zvi Cutler, Esq.
28                                                  Attorneys for Plaintiff
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 1                                                   Paula Kitchen
 2
                                      Certificate of Service
 3
           I hereby certify that on this date, I electronically filed this Notice of Settlement
 4
     using the CM/ECF system which will automatically send email notification of such
 5
     filing to all attorneys of record.
 6
 7
                                                            /s/ Avraham Zvi Cutler
 8
                                                            Avraham Zvi Cutler, Esq.
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